Case 6:16-bk-16877-WJ       Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32           Desc
                             Main Document    Page 1 of 10


  1   Robert P. Goe - State Bar No. 137019
      Donald W. Reid – State Bar No. 281743
  2   Charity J. Miller – State Bar No. 286481
      GOE & FORSYTHE, LLP
  3   18101 Von Karman Avenue, Suite 1200
      Irvine, CA 92612
  4   rgoe@goeforlaw.com
      dreid@goeforlaw.com
  5   cmiller@goeforlaw.com
      Telephone: (949) 798-2460
  6   Facsimile: (949) 955-9437
  7   Proposed Counsel for Debtor and Debtor in Possession
      Russel Dennis Hiles, III
  8
                          UNITED STATES BANKRUPTCY COURT
  9               CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION
      In re:                                             Case No. 6:16-bk-16877-WJ
 10
      RUSSEL DENNIS HILES, III,                          Chapter 11 Proceeding
 11
                                                        ERRATA RE DEBTOR’S NOTICE OF
 12              Debtor and Debtor-in-Possession.       MOTION AND MOTION FOR AUTHORITY
                                                        TO:
 13                                                     (1) EMPLOY CONCIERGE AUCTIONS, LLC
                                                            TO AUCTION DEBTOR’S PROPERTY
 14
                                                            (66876 Gist Rd., Bend, OR 97703) AND
 15                                                         PAYMENT OF MARKETING FEES AND
                                                            AUCTIONEER FEES (BUYERS
 16                                                         PREMIUM);
                                                        (2) EMPLOY CASCADE SOTHEBY’S
 17                                                         INTERNATIONAL REALTY AS REAL
                                                            ESTATE BROKER;
 18                                                     (3) SELL THE PROPERTY AT AUCTION
                                                            SUBJECT TO COURT APPROVAL AND
 19                                                         ALLOWING ACCEPTANCE OF BACK-
                                                            UP BIDDERS;
 20                                                     (4) ESTABLISH BIDDING PROCEDURES;
                                                        (5) SCHEDULE HEARING DATE FOR
 21
                                                            APPROVAL OF AUCTION;
 22                                                     (6) PAY SECURED CREDITOR, PROPERTY
                                                            TAXES, AND CLOSING COSTS; AND
 23                                                     (7) APPROVE OF SALE FREE AND CLEAR
                                                            OF LIENS PURSUANT TO 11 U.S.C.
 24                                                         SECTION 363(f)
                                                        DECLARATIONS OF RUSSEL D. HILES,
 25                                                     LAURA BRADY, AND BOBBY LOCKREM IN
                                                        SUPPORT THEREOF
 26
                                                        Hearing:
 27                                                     Date:    September 13, 2016
                                                        Time:    1:00 p.m.
 28
                                                        Ctrm:    304



                                                    1
Case 6:16-bk-16877-WJ        Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32                Desc
                              Main Document    Page 2 of 10


  1          TO THE HONORABLE WAYNE JOHNSON, UNITED STATES BANKRUPTCY
  2   JUDGE, THE UNITED STATES TRUSTEE AND ALL CREDITORS:
  3          PLEASE TAKE NOTICE that Debtor and Debtor-in-Possession, Russel Dennis Hiles, III
  4   (“Debtor”), filed his Motion with the Court for an Order for authority to: (1) employ Concierge
  5   Auctions, LLC (“Concierge”) to auction Debtor’s property located at 66876 Gist Rd., Bend, OR
  6   97703 (“Property”) and authorize payment of marketing fees and auctioneer fees (buyers
  7   premium) pursuant to that certain Auction Marketing Agreement dated as of August 16, 2016; (2)
  8   employ Cascade Sotheby’s International Realty (“Sotheby’s”) as real estate broker; (3) sell the
  9   Property at auction subject to Court approval and allowing acceptance of back-up bidders; (4)
 10   establish bidding procedures; (5) schedule hearing date for approval of auction results; (6) pay
 11   secured creditor, property taxes, and closing costs; and (7) Approve of sale free and clear of liens
 12   pursuant to 11 U.S.C. Section 363(f) (“Motion”) as Docket No. 32, which Exhibit “2” was
 13   incomplete.
 14          Attached hereto is the correct Exhibit “2” to the Motion.
 15
      DATED: August 22, 2016                           GOE & FORSYTHE, LLP
 16
 17
                                                    By: /s/Robert P. Goe
 18                                                      Robert P. Goe
                                                         Proposed Attorneys for Russel Dennis
 19                                                      Hiles, III, Debtor and Debtor-in-Possession
 20
 21
 22
 23
 24
 25
 26
 27
 28



                                                        2
Case 6:16-bk-16877-WJ   Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32   Desc
                         Main Document    Page 3 of 10




                   EXHIBIT 2




                   EXHIBIT 2
Case 6:16-bk-16877-WJ   Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32   Desc
                         Main Document    Page 4 of 10




                                  EXHIBIT "2"                         PAGE 25
Case 6:16-bk-16877-WJ   Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32   Desc
                         Main Document    Page 5 of 10




                                  EXHIBIT "2"                         PAGE 26
Case 6:16-bk-16877-WJ   Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32   Desc
                         Main Document    Page 6 of 10




                                  EXHIBIT "2"                         PAGE 27
Case 6:16-bk-16877-WJ   Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32   Desc
                         Main Document    Page 7 of 10




                                  EXHIBIT "2"                         PAGE 28
Case 6:16-bk-16877-WJ   Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32   Desc
                         Main Document    Page 8 of 10




                                  EXHIBIT "2"                         PAGE 29
Case 6:16-bk-16877-WJ   Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32   Desc
                         Main Document    Page 9 of 10




                                  EXHIBIT "2"                         PAGE 30
Case 6:16-bk-16877-WJ          Doc 37 Filed 08/22/16 Entered 08/22/16 10:46:32                      Desc
                               Main Document    Page 10 of 10

                                        PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

  3   A true and correct copy of the foregoing document entitled (specify): ERRATA RE DEBTOR’S NOTICE OF
      MOTION AND MOTION FOR AUTHORITY TO: (1) EMPLOY CONCIERGE AUCTIONS, LLC TO
  4   AUCTION DEBTOR’S PROPERTY (66876 Gist Rd., Bend, OR 97703) AND PAYMENT OF MARKETING
      FEES AND AUCTIONEER FEES (BUYERS PREMIUM); (2) EMPLOY CASCADE SOTHEBY’S
  5   INTERNATIONAL REALTY AS REAL ESTATE BROKER; (3) SELL THE PROPERTY AT AUCTION
      SUBJECT TO COURT APPROVAL AND ALLOWING ACCEPTANCE OF BACK-UP BIDDERS;
  6   (4) ESTABLISH BIDDING PROCEDURES; (5) SCHEDULE HEARING DATE FOR APPROVAL OF
      AUCTION; (6) PAY SECURED CREDITOR, PROPERTY TAXES, AND CLOSING COSTS; AND
  7   (7) APPROVE OF SALE FREE AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. SECTION 363(f);
      DECLARATIONS OF RUSSEL D. HILES, LAURA BRADY, AND BOBBY LOCKREM IN SUPPORT
  8   THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by
      LBR 5005-2(d); and (b) in the manner stated below:
  9
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 10   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) August 22, 2016, I checked the CM/ECF docket for this bankruptcy
 11   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
 12
             Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
 13          William F McDonald Caecf@tblaw.com, wfm@tblaw.com;snchampney@tblaw.com
             Jason K Schrader jason.K.Schrader@usdoj.gov
 14          United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
             Rebecca J Winthrop rebecca.winthrop@nortonrosefulbright.com,
 15           darla.rodrigo@nortonrosefulbright.com
             Jennifer C Wong bknotice@mccarthyholthus.com
 16
      2. SERVED BY UNITED STATES MAIL:
 17   On (date) August 22, 2016, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 18   envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
      here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 19
      Brian T. Moynihan, Chairman & CEO, Bank of America, 100 N. Tryon St., Charlotte, NC 28255
 20   Bank of America, Resident Agent, CT Corp. System, 818 W. 7th St., #930, Los Angeles, CA 90017
 21   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
      (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
 22   (date) August 22, 2016, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 23   email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 24
           Honorable Wayne Johnson, USBC, 3420 Twelfth Street, Riverside, CA 92501
 25
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 26
       August 22, 2016           Susan C. Stein                              /s/Susan C. Stein
 27    Date                     Printed Name                                 Signature

 28



                                                            3
